            Case 4:07-cv-05944-JST Document 2196-1 Filed 11/06/13 Page 1 of 3




 1
     Kenneth A. Gallo (pro hac vice)
 2   Joseph J. Simons (pro hac vice)
     Craig A. Benson (pro hac vice)
 3   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
     2001 K Street, NW
 4   Washington, DC 20006-1047
     Telephone: (202) 223-7356
 5   Facsimile: (202) 223-7420
     Email: kgallo@paulweiss.com
 6   Email: jsimons@paulweiss.com
     Email: cbenson@paulweiss.com
 7
     Stephen E. Taylor (SBN 058452)
 8   Jonathan A. Patchen (SBN 237346)
     TAYLOR & COMPANY LAW OFFICES, LLP
 9   One Ferry Building, Suite 355
     San Francisco, California 94111
10   Telephone: (415) 788-8200
     Facsimile: (415) 788-8208
11   Email: staylor@tcolaw.com
     Email: jpatchen@tcolaw.com
12
     Attorneys for Plaintiffs Sharp Electronics Corporation,
13   Sharp Electronics Manufacturing Company of America, Inc.

14

15
                                      UNITED STATES DISTRICT COURT
16
                                   NORTHERN DISTRICT OF CALIFORNIA
17
                                           SAN FRANCISCO DIVISION
18
     In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 (SC)
19   LITIGATION
                                                                MDL No. 1917
20   This Document Relates To:                                  DECLARATION OF CRAIG A.
21                                                              BENSON IN SUPPORT OF
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   SHARP’S ADMINISTRATIVE
     Case No. C 13-1173 (SC)                                    MOTION TO FILE DOCUMENTS
22
                                                                UNDER SEAL PURSUANT TO
23                                                              CIVIL LOCAL RULES 7-11 AND
                                                                79-5(b)
24

25

26

27
28
             DECLARATION OF CRAIG A. BENSON IN SUPPORT OF SHARP’S ADMINISTRATIVE MOTION
                   TO FILE UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(b)
                             Case Nos. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
               Case 4:07-cv-05944-JST Document 2196-1 Filed 11/06/13 Page 2 of 3




 1   I, Craig A. Benson, hereby declare as follows:

 2        1.         I am a Partner with the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP,

 3   counsel for Plaintiffs Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of

 4   America, Inc. (collectively, “Sharp”). I am a member of the bar of the State of Maryland and I am

 5   admitted to practice before this court pro hac vice.

 6        2.         I submit this declaration in support of Sharp’s Administrative Motion to File Documents

 7   Under Seal Pursuant to Civil Local Rules 7-11 and 79-5(b), by which Sharp seeks to file under seal: (1)

 8   Exhibit A to the Declaration of Vince Sampietro in Support of Sharp’s Opposition to Toshiba

 9   Defendants’ Motion to Dismiss Sharp’s Complaint; and, (2) Exhibit A to the Declaration of Craig A.

10   Benson in Support of Sharp’s Opposition to Toshiba Defendants’ Motion to Dismiss Sharp’s Complaint.

11   I have personal knowledge of the matters set forth herein and, if called as a witness, I could and would

12   testify competently to them.

13        3.         Exhibit A to the Declaration of Vince Sampietro is a true and correct copy of the

14   Purchase Order between Sharp Electronics Manufacturing Company of America, Inc. and Toshiba

15   America Electronic Components, Inc. This document contains confidential, non-public information

16   about Sharp’s business practices and relationship with the Toshiba Defendants that remain important to

17   Sharp’s competitive position. Because the information contained in the Purchase Order is not publicly

18   available, disclosing the information presents a risk of undermining Sharp’s relationships, would cause

19   harm with respect to Sharp’s competitors and customers, and would place Sharp at a competitive

20   disadvantage.

21        4.          Exhibit A to the Declaration of Craig A. Benson is a true and correct copy of an excerpt

22   of Sharp’s Responses and Objections to Defendants Hitachi Electronic Devices (USA), Inc. and

23   Samsung SDI America, Inc.’s First Set of Interrogatories, dated July 22, 2013. This document has been

24   previously designated by Sharp as “Confidential” pursuant to the Protective Order entered in this action,

25   and contains confidential, proprietary and highly sensitive business information, the disclosure of which

26   presents a risk of undermining Sharp’s commercial relationships.
27
                                                      -2-
                   DECLARATION OF CRAIG A. BENSON IN SUPPORT OF SHARP’S ADMINISTRATIVE
                  MOTION TO FILE UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(b)
                               Case Nos. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
            Case 4:07-cv-05944-JST Document 2196-1 Filed 11/06/13 Page 3 of 3




 1          I declare under penalty of perjury, under the laws of the United States of America, that the

 2   foregoing is true and correct.

 3          Executed this 6th day of November, 2013, in Washington, D.C.

 4

 5                                                                 /s/ Craig A. Benson

 6                                                                  Craig A. Benson

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27
                                                 -3-
                  DECLARATION OF CRAIG A. BENSON IN SUPPORT OF SHARP’S ADMINISTRATIVE
                 MOTION TO FILE UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(b)
                              Case Nos. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
